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                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8      KEVIN L. PHELPS,                     )               No. C 98-2002 MMC (PR)
                                                                          9
                                                                                                                      )
                                                                                            Petitioner,               )               ORDER DENYING
                                                                         10                                           )               MOTION FOR
                                                                                   v.                                 )               RECONSIDERATION
                                                                         11                                           )
                                                                                 EDWARD ALAMEDA,                      )
United States District Court




                                                                         12                                           )               (Docket Nos. 47-48)
                                                                                            Respondent.               )
                               For the Northern District of California




                                                                         13      ____________________________________ )
                                                                         14          The Court is in receipt of a “Notice of Motion and Motion Pursuant to FRCP 60(b)(6)
                                                                         15   to Reconsider and Vacate Previous Order Denying First Motion Made Pursuant to FRCP
                                                                         16   60(b)(5),” filed November 17, 2006 by petitioner, a California prisoner proceeding pro se.
                                                                         17   The instant motion repeats the arguments and allegations made in a previous motion filed by
                                                                         18   petitioner, which motion, as the Court found in its “Order Striking Motion” filed June 7,
                                                                         19   2006, failed “to set forth any cognizable ground to warrant reconsideration of the Court’s
                                                                         20   prior order.”
                                                                         21          Accordingly, the motion for reconsideration filed November 17, 2006 is hereby
                                                                         22   DENIED.
                                                                         23          This order terminates Docket Nos. 47 and 48.
                                                                         24          IT IS SO ORDERED.
                                                                         25          DATED: December 11, 2006
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                                                                         27                                      MAXINE M. CHESNEY
                                                                                                                 United States District Judge
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